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UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT

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R. ALEXANDER ACOSTA, SECRETARY OF
LABOR, United States Department of Labor,

Plaintiff, CIVIL ACTION: 3:17-cV-02024
v.
VINNY’S OF FAIRFIELD, LLC

d/b/a VINNY’S ALE HOUSE and ERNST H.
BUGGISCH,

Defendants.
CONSENT JUDGMENT AND ORDER

Plaintiff, Secretary of Labor, United States Department of Labor, has filed a Complaint
and Defendants have received a copy of Plaintiff" s Complaint and Waived service of process
Defendants also acknowledge assessment by Plaintiff of civil money penalties and have received
notice and service of the issuance of the civil money penalties, and Waive exception to those civil
money penalties in the reduced amount of $2992.()0, all under Section l6(e) of the F air Labor
Standards Act of 1938 (the “Act”), 29 U.S.C. §216(e) and 29 C.F.R. §§ 578.1-578.4 and 580.1-
580.18. The Court finds that it has jurisdiction to enter this Consent Judgment and Order, and
Plaintiff and Defendants agree to its terms,

lt is, therefore,

ORDERED, ADJUDGED and DECREED that Defendants, their agents, servants,
employees, and all persons acting or claiming to act in their behalf and interest be, and they

hereby are, permanently enjoined and restrained from violating the provisions of the Fair Labor

 

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Standards Act, as amended (29 USC 201 e_t _sAL_.), hereinafter referred to as “the Act”, in any of
the following manners:

Defendants shall not, contrary to sections 6 and lS(a)(2) of the Act, 29 U.S.C. § 206 and
215(a)(2) pay any employees Who, in any Workweek, are employed in commerce, or in the
production of goods for commerce, or in an enterprise engaged in commerce or in the production
of goods for commerce, as defined by the Act, Wages at rates less than the applicable minimum
Wage.

Defendants shall not, contrary to sections 7 and 15 (a)(2) of the Act, 29 U.S.C. § 207 and
215(a)(2), employ any employees Who in any Worl<Week are engaged in commerce or in the
production of goods for commerce, or Who are employed in an enterprise engaged in commerce
or in the production of goods for commerce, Within the meaning of the Act, for Workweeks
longer than forty (40) hours, unless such employee receives compensation for his employment in
excess of forty (40) hours at a rate not less than one and one-half times the regular rate at Which
he is employed.

Defendants shall not, contrary to section lS(a)(3) of the Act, 29 U.S.C. § 215(a)(3),
discharge or in any other manner discriminate against any employee because such employee has
filed any complaint or instituted or caused to be instituted any proceeding under or related to this
Act, or has testified or is about to testify in any such proceeding

Defendants shall not fail to make, keep, and preserve records of employees and of the
Wages, hours, and other conditions and practices of employment maintained by them as
prescribed by the regulations issued, and from time to time amended, pursuant to section ll(c) of

the Act, 29 U.S.C. § 2l l(c), and found in Title 29, Part 516 of the Code of Federal Regulations.

 

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Fuither, the Court, finding that the employees are due compensation in the amount of
$244,930.96 (inclusive of gross back wages and liquidated damages), as shown on attached
Exhibit A which is incorporated and made a part hereof, it is further ORDERED, ADJUDGED
and DECREED that the Defendants are enjoined and restrained from withholding the payment of
$122,465.48 in gross back wages and are jointly and severally liable for the payment of
$122,465.48 in liquidated damages to eight employees who Plaintiff and Defendants have agreed
were entitled to overtime compensation during at least portions of the period between February
9, 2014 to February 17, 2017, in such amounts listed on the attached Exhibit A, which is
incorporated in and made a part hereof.

Each Defendant is jointly and severally liable for all the amounts listed on EXhibit A.

Defendants represent that, to the best of their knowledge and following diligent review
and inquiry, they have been in compliance with the Act since February 17, 2017. In resolving
the amount of back wages and liquidated damages ordered to be paid in this judgment, the
plaintiff has relied on this representation, and accordingly, the back wage and liquidated
damages provisions of this judgment shall have no effect upon any back wages and liquidated
damages which may have accrued since that date.

The provisions of this judgment shall be deemed satisfied when, on or before November
21, 2017, Defendants deliver to Plaintiff (to be mailed to U. S. Department of Labor, Wage &
Hour Division, Northeast Region, The Curtis Center, Ste. 850 West, 170 S. Independence l\/Iall
West, Philadelphia, PA 19106-3317, Attention: Mary Doughty, with a copy to: U.S. Depaitment
of Labor, Wage and Hour Division, Hartford District Office, 135 High Street, Room 210,
Hartford, CT 06103-1111) two certified checks, (l) one for the gross amount of back wages due

($122,465.48), from which deductions for the Defendants’ employees share of FICA and federal

 

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withholding taxes will be made by the United States Department of Labor and (2) the other for
liquidated damages due ($122,465.48), which are not subject to deductions Both checks Should
be made payable to “Wage and Hour Division - Labor” written on the face of the checks In
addition, case ID number 1802909 shall be included on the checks.

lt is also ORDERED, ADJUDGED and DECREED that Defendants shall pay, jointly and

severally, the civil money penalties issued pursuant to Section l6(e) of the Act, 29 U.S.C.
§216(e) and 29 C.F.R. §§ 578.1-578.4 in the amount of $2992.00 to the Wage and Hour
Division.

Defendants, jointly and severally, shall further pay the employers’ share of FICA and
withholding taxes to the appropriate authorities for the back wages paid pursuant to this
judgment after presentation of the United States Department of Labor’s summary of employee
payments made.

On or before ten (10) days from the entry of this judgment, Defendants shall deliver
jointly and severally to the United States Department of Labor at the Hartford District Office of
the Wage and Hour Division at the Hartford, CT address set forth above, a statement showing the
following: employers’ Federal lD number(s), the name of each employee listed in Exhibit A, and
each employee’s current address and social security number (to the extent known by
Defendants).

When recovered wages and/or liquidated damages have not been claimed by an employee
within three (3) years, because of inability to locate the employee or because of the employee’s
refusal to accept such sums, Plaintiff shall deposit the wages and/or liquidated damages into the

United States Treasury as miscellaneous receipts pursuant to 29 U.S.C. § 216(0).

 

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Defendants shall not, under any circumstances, solicit repayment of any amount paid to
any employee in connection With this judgment ln the event any such amount is received from
any employee, Defendants shall immediately remit such amount to the United States Department
of Labor at the Philadelphia, PA address set forth above.

lt is further ORDERED, ADJUDGED and DECREED that each party shall bear its own

fees and other expenses incurred by such party in connection with any stage of this proceeding

 

 

Dated:
United States District Judge
Defendants hereby consent to Plaintiff hereby moves for entry of this
entry of this judgment: judgment:
Vinny’s of Fairfield, LLC Nicholas C. Geale
d/b/a Vinny’s Ale House Acting Solicitor of Labor
By its attorneys: Michael D. Felsen

Regional Solicitor

 
 
 

 

 

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First Name MI Last Name

ROBINSON
ROBERTO
LEOPOLDO
DAVID
ABRAHAM
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EXHIBIT A

BWs Due LDS Due Total Due
$15,582.87 $15,582.87 $31,165.74
$13,104.87 $13,104.87 $26,209.74
$6,183.00 $6,183.00 $12,366.00
$15,149.32 $15,149.32 $30,298.64
$l6,275.20 $16,275.20 $32,550.40
$31,223.79 $31,223.79 $62,447.58
$12,298.20 $12,298.20 $24,596.40
$12,648.23 $12,648.23 $25,296.46
$122,465.48 $122,465.48 $244,930.96

 

